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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 LIYOU XING,
 on his own behalf and on behalf of others similarly situated
                                     Plaintiff,
                                     v.
 MAYFLOWER INTERNATIONAL HOTEL GROUP INC                                Case No. 18-cv-06616
          d/b/a Mayflower Hotel and
          d/b/a Wyndham Garden;                                         NOTICE OF MOTION FOR
 MAYFLOWER BUSINESS GROUP, LLC                                          LEAVE TO FILE FIRST
          d/b/a Mayflower Hotel and                                     AMENDED COMPLAINT
          d/b/a Wyndham Garden;
 MAYFLOWER INN CORPORATION
          d/b/a Mayflower Hotel and
          d/b/a Wyndham Garden;
 MAYFLOWER WENYU LLC
          d/b/a Mayflower Hotel and
          d/b/a Wyndham Garden;
 YAN ZHI HOTEL MANAGEMENT INC.
          d/b/a Mayflower Hotel and
          d/b/a Wyndham Garden;
 MAYFLOWER 1-1 LLC
          d/b/a Mayflower Hotel and
          d/b/a Wyndham Garden;
 YUEHUA HU,
 WEI HONG HU a/k/a Weihong Hu, and
 XIAOZHUANG GE

                                     Defendants.
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        PLEASE TAKE NOTICE that upon the annexed Declaration of John Troy, sworn on

April 6, 2020, and all exhibits attached thereto, and upon all prior pleadings and proceedings

herein, the undersigned shall move this Court, at the United States Courthouse for the Eastern

District of New York, at 225 Cadman Plaza East, Brooklyn, NY 11201 before the Honorable

Magistrate Judge Lois Bloom for an order granting leave to file a first amended complaint.

        PLEASE TAKE FURTHER NOTICE that, pursuant to the Local Rules of Eastern

District Court of New York, answering papers, if any, are to be served so as to be received by the

undersigned no later than April 20, 2020 and reply papers, if any, are to be served by April 27,

2020.

Dated: Flushing, New York


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      April 6, 2020

                                      Respectfully submitted,

                                       /s/ John Troy
                                      John Troy, Esq.
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                                      Flushing, NY 11355
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                                      Attorneys for the Plaintiff




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